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7                          UNITED STATES DISTRICT COURT
8
                          CENTRAL DISTRICT OF CALIFORNIA

9
      UNITED AFRICAN-ASIAN                    Case No:
10    ABILITIES CLUB, ON BEHALF
11
      OF ITSELF AND ITS                       COMPLAINT
      MEMBERS; JAMES LEE, An
12    Individual                              DISCRIMINATORY
13                                            PRACTICES
                          Plaintiffs,         [US Fair Housing Act of 1988 [42
14
                                              U.S.C. §§ 3600 et seq, §3604(c),
15          v.                                §3604(f)(1-3), et seq.; CA
                                              Government Code 12925, 12927,
16
      GENERAL HOLDINGS LLC;                   12955; CA Civil Code §§ 51, 52,
17    AND DOES 1 THROUGH 10,                  54.3
18
      Inclusive
                                              DEMAND FOR JURY TRIAL
19                        Defendants.
20                                      INTRODUCTION
21
     1.    Plaintiffs make the following allegations in this civil rights action:
22                              JURISDICTION AND VENUE
23   2.      The federal jurisdiction of this action is based on the 42 U.S.C. §§ 3601,
24   3604 et. seq. - the U.S. Fair Housing Act Amendments of 1988 (Defendants’
25
     apartment property consist of four (4) or more residential units), and 42 U.S.C. §
26
     12101 et. seq., the federal Americans With Disabilities Act. Venue is proper in this
27
     United States District Court for the Central District of California pursuant to 28
28

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1
     U.S.C. § 1391(b), because a substantial part of Plaintiffs’ claims arose within said
2
     Judicial District.
3
                              SUPPLEMENTAL JURISDICTION
4
     3.      This United States District Court for the Central District of California has
5
     supplemental jurisdiction over the California state claims as alleged in this
6
     Complaint pursuant to 28 U.S.C. § 1367(a).
7
                   NAMED DEFENDANTS AND NAMED PLAINTIFFS
8
     4.     The term Plaintiffs as used herein specifically include the corporate Plaintiff
9
     entity known as the United African-Asian Abilities Club, On Behalf Of Itself And Its
10
     Members (hereinafter referred to as “Club” or “UAAAC”); and the individual
11
     Plaintiff JAMES LEE (hereinafter referred to as “LEE” or the “named Individual
12
     Plaintiff”. The Plaintiff Club and Plaintiff LEE are sometimes collectively referred
13
     to as the “named Plaintiffs” or “Plaintiffs”.
14
     5.     Plaintiff United African-Asian Abilities Club (UAAAC) is registered and in
15
     good standing as a Nevada corporation. The named individual Plaintiff LEE is a
16
     member of the Plaintiff Club organization.
17
     6.   Plaintiffs are informed, believe, and thereon allege that named Defendant
18
     GENERAL HOLDINGS LLC and is the operator of the apartment rental business
19
     known as The Evanston Apartments located at 630 S. Kenmore Avenue Los
20
     Angeles, CA 90005. Plaintiffs are informed, believe, and thereon allege that
21
     Defendant GENERAL HOLDINGS LLC, is the owner, operator, and/or lessor of the
22

23
     real property located at 630 S. Kenmore Avenue Los Angeles, CA 90005

24
     (hereinafter referred to as the “Property”).

25
     7.     Defendant GENERAL HOLDINGS LLC, is, and at all times mentioned herein

26
     were, a business or corporation or franchise, organized and existing and/or doing

27
     business under the laws of the State of California. Defendants Does 1 through 10,

28

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1
     were at all times relevant herein subsidiaries, employers, employees, and/or agents of
2
     the named Defendants.
3
                                  CONCISE SET OF FACTS
4
     8.    The named Individual Plaintiff Lee has hip and knee conditions, uses a device
5
     for mobility, is unable to walk any distance, and also has a vision disability. Plaintiff
6
     Lee is also a member of the Plaintiff Club. The individual Plaintiff Lee had specific
7
     dates wherein he intended to go the Defendant’s Property to access Defendants’
8
     rental services. Plaintiff Lee has actual knowledge of the overt and obvious physical
9
     and communication barriers at Defendants’ Property. Plaintiff Lee determined that
10
     the open and obvious physical barriers that exist at Defendants’ Property directly
11
     related to his disabilities, and that it would be impossible or extremely difficult for
12
     him to physically access Defendants’ on-site rental services. See ¶¶ 25. Plaintiff
13
     Lee had knowledge of access barriers at the Property and determined that it would be
14
     futile gesture for him to go to the Property on the date that he had intended. The
15
     named Individual Plaintiff Lee was deterred by his actual knowledge of the physical
16
     and communication barriers that exist at Defendants’ Property and also Defendants’
17
     website communication barriers. As used herein, website means any internet website
18

19
     where Defendants control the content. Exhibit B states the websites controlled by

20
     Defendants. Plaintiff Lee also attempted to access Defendants’ rental services on

21
     Defendants websites but experienced great difficulty due to Defendants’ failure to

22
     provide accessible website features.

23
     9. The named Individual Plaintiff Lee attempted to use Defendants’ website to

24
     access Defendants’ online rental services, but had great difficulty due to his

25
     disabilities. The named Individual Plaintiff Lee also could not determine from

26   Defendants’ website content whether Defendants’ rental services at the property or
27   off the property, and common areas at the property were physically accessible to
28

                      3
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1
     him. The named Individual Plaintiff Lee requested that Plaintiff Club assist him to
2
     obtain information regarding the physical accessibility of Defendants’ rental services
3
     at the property and off-site. In response to the named Individual Plaintiff’s request,
4
     Plaintiff Club sent one of its members to Defendants’ property. The named
5
     Individual Plaintiff personally reviewed all the information and photographs of
6
     Defendants’ property. As a result, the named Individual Plaintiff has actual
7
     knowledge of the overt and obvious physical and communication barriers to
8
     Defendants rental service at Defendants’ Property. The named Individual Plaintiff
9
     determined that the open and obvious physical barriers that exist at Defendants’
10
     Property directly related to his disabilities, and that it would be impossible or
11
     extremely difficult for him to physically access Defendants’ on-site rental services.
12
     See ¶¶ 25. The named Individual Plaintiff Lee had actual knowledge and determined
13
     that it would be futile gesture for him to go to the Property on the date that he had
14
     intended. The named Individual Plaintiff was deterred by his actual knowledge of
15
     the physical and communication barriers that exist at Defendants’ Property and
16

17
     website. The named Individual Plaintiff made a written request to Defendants’ for

18
     an accommodation to have equal access to Defendants’ rental services and to

19
     eliminate the communication and physical barriers to Defendants’ rental services,

20
     both online and at the property. At the end of this action, the named Individual

21
     Plaintiff Lee intends to return to Defendants’ website and Defendants’ property to

22
     obtain rental information and verify that the communication and physical barriers to

23
     Defendants’ rental services are removed.

24
     10.   The named Plaintiff Club is an organization that advocates on the behalf of its

25
     members with disabilities when their civil rights and liberties have been violated.

26
     Plaintiff Club and Plaintiff Lee investigated Defendants’ websites and apartment

27
     Property in February, 2023. The named Plaintiffs investigated Defendants apartment

28

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1
     property and Defendants websites. Plaintiff Club member Sharon Riguer
2
     investigated the Property on the Internet websites. Additional Plaintiff Club
3
     members investigated Defendants websites and found that they did not provide equal
4
     access. The results of the research from Club Member Sharon Riguer are contained
5
     in the Exhibit B to this Complaint. Club members ascertained that Defendants’
6
     rental services at Defendants Property were not physically accessible to Plaintiff Lee
7
     by a Club member with a disability who went to Defendants’ apartment Property,
8
     and said Club member attempted to access Defendants’ on-site rental services.
9
     11.   Plaintiff Club diverted its time and resources from its normal purposes
10
     because of Defendants’ service, policy, program and physical barriers to Defendants
11
     rental services at Defendants’ websites and Property. Club personnel conducted
12
     detailed Internet searches to determine if Defendants provide large print, deaf
13
     interpreter, therapy animal, the required reasonable accommodation policy, and
14
     required reasonable modification policy.    Further, the Club retained contractors to
15
     investigate said policies, to survey the property, to photograph the property, to
16
     investigate when the Property was constructed, to investigate the Property ownership
17
     and to have an access report prepared. Plaintiff Club also diverted staff to
18
     investigate Defendants' Internet presence to determine compliance with the FHA and
19
     ADA. Plaintiff Club also investigated Defendants' written rental materials such as
20
     brochures, rental applications and leases. Moreover, Plaintiff Club made an oral
21
     investigation to ascertain Defendants' companion animal, deaf interpreter and
22

23
     reasonable accommodation and reasonable modification policies. Plaintiff Club also

24
     caused a physical access consultant to be retained to survey Defendants' facility.

25
     Plaintiff Club’s findings regarding Defendants’ rental services and facilities were

26
     incorporated into an Access Report. The Access Report also details the known overt

27
     and obvious physical access violations at the Property, but it is not intended as an

28

                      5
                                                                                COMPLAINT
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1
     exhaustive list of existing violations. Due to these necessary activities to investigate,
2
     Plaintiff Club’s time and resources were diverted from its normal activity. Plaintiff
3
     Club suffered injury and also suffered monetary damages due to the diversion of the
4
     Club’s resources from its normal purposes.
5
     12.   Plaintiffs allege that Defendants control, operate, and maintain web pages at
6
     different apartment websites where Defendants offer its rental services.
7
     Additionally, Defendants provide rental services located at the Property.
8
     13.   Plaintiffs allege that Defendants’ websites have a close nexus to Defendants’
9
     physical site rental services because the websites refer to Defendants’ rental services
10
     that are offered at Defendants’ property as well as elsewhere off the site. Therefore,
11
     Plaintiffs allege that the websites are also places of public accommodation.
12
     Defendants control the websites to the extent that Defendants can change the website
13
     content to make modifications to comply with the FHA and ADA. Therefore,
14
     Plaintiffs allege that Defendants can modify the content of Defendants’ websites to
15
     improve access for Plaintiffs and people with disabilities.
16
     14.   In this case, the named Plaintiffs allege that the Defendants failed to provide a
17
     TTY number or the text messaging system for Plaintiffs and other people that are
18
     deaf or people with speech conditions. Plaintiff Club members have a speech
19
     disability. Moreover, Plaintiff Club alleges that the Defendants did not modify their
20
     websites to eliminate non-readable text to allow the blind and people with low vision
21
     to use the screen reader software to access the information on the website, yet they
22

23
     also failed to use large print on their websites. See Exhibit B to this Complaint.

24
     Plaintiffs assert that most popular screen reader programs are called Jobs Access

25
     With Speech or “JAWS” and Apple’s VoiceOver Software. Defendants actions

26
     discriminate against Plaintiff Club, specifically Club members who have low vision

27
     disabilities. Each of the Club members above cannot use the websites controlled by

28

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1
     the Defendants. Modifications to Defendants’ websites will not fundamentally alter
2
     the rental services provided and will also not cause an undue burden to Defendants,
3
     because the cost is less than One Thousand Dollars ($1,000).
4
     15.   On February 02, 2023, and on a second subsequent date, Plaintiff Club
5
     attempted to make a request to the Defendants for reasonable accommodation at the
6
     property. On February 17, 2023, the named individual Plaintiff LEE and Plaintiff
7
     Club emailed to the Defendants a written request for a reasonable accommodation.
8
     In February, 2023, Plaintiff LEE and Plaintiff Club, mailed a written request for a
9
     reasonable accommodation. Defendants failed to respond to both Plaintiffs requests
10
     for reasonable accommodation as of the date of the filing of this Civil Complaint.
11
     16.   Plaintiffs are not able to access Defendants rental services due to existing
12
     overt and obvious communication and physical barriers to access Defendants’ rental
13
     services both at its online website and at the property. Due to the overt and obvious
14
     physical barriers as alleged herein below, which are required to be removed,
15
     Plaintiffs requested that Defendants accommodate them to provide access to
16

17
     Defendants’ rental services.
     17.   The named Plaintiffs allege that an accommodation is also obvious when a
18
     whole group of the protected persons requires it. For example, when the public
19
     without disabilities are required to get up to a second level, the public would be very
20
     disturbed if they were required to request steps to go up to second level. When the
21
     accommodation is specific to a particular person with a disability, then that person
22

23
     may be required to make a request, because the accommodation is not obvious.

24
     18.   Plaintiffs allege that they are not required to make a request for reasonable

25
     accommodation and for auxiliary aids when the barriers to communication are overt

26
     and obvious. However, in the present case, Plaintiffs did make such requests for

27
     accommodation to eliminate overt and obvious barriers to its rental services

28

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1
     communications. Plaintiffs allege that providing effective contact information for
2
     Defendants’ rental services on the internet is an obvious accommodation. The
3
     general public does not need to request a contact number from the Defendant
4
     apartment owner or operator when they desire to rent a place. Defendants provide the
5
     contact number on their website. Therefore, Plaintiffs allege that Defendants are
6
     required to provide the obvious accommodation of effective communication for
7
     people that are deaf or with speech impediment on their website without a request.
8
     Defendants must make their rental services accessible without the need for a prior
9
     request. Furthermore, Defendants have a duty to remove architectural barriers and
10
     communication barriers to their rental services without request.
11
     19. Plaintiffs allege that there is disparate treatment on the internet related to the
12
     amenities being offered to people without disabilities and people with disabilities.
13
     All the below facts and the facts stated elsewhere herein have a disparate impact on
14
     the disability community. The named Plaintiffs experienced and have knowledge of
15
     the below facts that the Plaintiffs ascertained from Defendants’ websites. Defendant
16
     operates an apartment property. The property is located at 630 S Kenmore Ave, Los
17
     Angeles, CA 90005. The property was built in 1928 and has 6 stories with 83 units.
18
     The rent is approximately: $1,899. The internet provides a wealth of information
19
     regarding the property. The internet advertises that the property has amenities that
20
     include: Community Amenities: Laundry Facilities, Gated, Courtyard; Apartment
21
     Features: High Speed Internet Access, Heating, Ceiling Fans, Smoke Free, Cable
22

23
     Ready, Pantry, Kitchen, Refrigerator, Breakfast Nook, Vaulted Ceiling; Pet Policies

24
     (Pets Negotiable) Cats Allowed: Pet Limit 2, Pet deposit $300; Parking Surface Lot:

25
     Unassigned Parking, Parking ( waiting list); Street: 1 space, Unassigned Parking,

26
     street parking; Application Fee $25; Utilities Included: Gas, Water, Electricity. The

27
     property advertises on apartmentguide.com, apartmentfinder.com,

28

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1
     westsiderentals.com, redfin.com, rent.com, realtor.com, apartmentlove.com. It is
2
     very important to know that on apartmentguide.com, apartmentfinder.com,
3
     westsiderentals.com, redfin.com, rent.com there is the equal housing opportunity
4
     logo. The plaintiff alleges that there is disparate treatment on the internet related to
5
     the amenities being offered to people without disabilities and people with
6
     disabilities. For example, the tow signage was not installed. The accessible parking
7
     space had an access aisle, which was not van accessible. The aisle did not have the
8
     “no parking” included in the access aisle. The office had a high threshold. There was
9
     no International Symbol of Accessibility signage. The Internet does not state the
10
     accessible amenities at all. Also, the statement the “equal housing opportunity
11
     statement” is misleading. In fact, the property is not completely accessible. All the
12
     above facts and the facts stated herein have a disparate impact on the disability
13
     community.
14
     20.   On Defendants’ websites, they allow the public without deafness and without
15
     speech impairments to participate by providing them with a telephone number to
16

17
     call. However, Plaintiff Club members that are deaf and or with speech impairments

18
     are denied equal access to participate because the Defendants do not have any

19
     effective communication.

20
     21.   Defendants provide websites for people without disabilities to benefit from the

21
     rental services without going to the apartments to learn about the properties.

22
     However, for people with disabilities that require the access to the facility, the

23
     Defendants do not provide any information on the websites regarding if the rental

24
     services located both on or off the property are accessible. Moreover, the Defendants
25   provide the telephone number for the public to call to inquire about the rental
26   services without providing any effective alternative communications for Plaintiffs
27   and other people that are deaf or have speech impairments.
28

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 1
     22.   For people without disabilities, the Defendants provide all of the information
 2
     on their websites. For Plaintiffs with disabilities, Defendants require them to travel to
 3
     the Property to determine if it is accessible, then require them to request the effective
 4
     communication, and then thereafter to request a reasonable accommodation to the
 5
     overt and obvious communication barrier. Therefore, Defendants require Plaintiffs
 6
     and other people with disabilities to suffer a separate benefit.
 7
     23.   Additionally, the named Plaintiffs are alleging photograph discrimination
 8
     related to the physical access of each of the apartments within Exhibit B to this
 9
     complaint. The purpose of Defendants’ internet photographs is to entice perspective
10
     renters to apply online or to contact the Defendants to rent a place. Defendants’
11
     internet photographs only entice people without mobility disabilities. Defendants’
12
     internet photographs exclude any photographs of any accessible features that would
13
     aid the Plaintiffs. For example, there is no photograph of accessible parking. There
14
     are no photographs of the accessible route to the rental services both on or off the
15
     property. There are photographs of the accessible route to the rental services. There
16

17
     are no photographs related to the access to get into and use the rental services. There

18
     are no photographs related to the accessible route of the common area. There are no

19
     photographs of the accessible units. In fact, all the photographs lead a person with a

20
     mobility disability to believe that the apartments are not accessible, or that they must

21
     have someone go to the properties to make sure it is accessible. However, people

22
     without disabilities are not required to go to the Property to see if it is accessible.

23
     24.   Defendants websites and Defendants’ rental services are not integrated for

24
     people with disabilities as required. Plaintiffs are required to request an
25   accommodation. People without disabilities can access the websites and the rental
26   services without any problem, but Plaintiffs and other people with disabilities are
27   required to request for separate rental services. People with mobility conditions are
28

                      10
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 1
     not integrated when using the websites because they must go to the apartments to
 2
     determine if they are accessible, but people without disabilities need only access
 3
     Defendants’ websites to determine they can use them. People that are blind and with
 4
     low vision disabilities must request help to read the website information because the
 5
     printed information is too small, but people without disabilities can access the
 6
     websites without asking for help. Plaintiffs and other people with deafness or people
 7
     with speech condition must ask for help calling the number on the websites, because
 8
     Defendants fail to provide a TTY number to contact, or Defendants fail to provide a
 9
     texting system. Defendants discriminated against the Plaintiffs.
10
     25.   Plaintiff Club member went to Defendant’s apartment facilities at the Property
11
     in February, 2023, and on a second subsequent date, to access the Rental Services
12
     Office. The Named Individual Plaintiff has actual knowledge of Defendants’ overt
13
     and obvious physical barriers, that relate to this Plaintiff’s disabilities, to Defendants’
14
     Property on-site Rental Services Office that this Named Individual Plaintiff intended
15
     to visit in February, 2023, and on a second subsequent date, but this Plaintiff was
16
     deterred from accessing Defendant’s Rental Services Office located on the Property.
17
     Defendants provide rental information, rental applications, and other rental services
18
     on-site at the Property. Defendants’ agents confirmed to the Plaintiffs that rental
19
     information, rental applications, and other rental services were available on-site at
20
     the Property. Defendants’ Rental Services Office at the Property is not accessible.
21
     Defendants’ path of travel from the sidewalk to the Rental Services Office is not
22
     accessible since it has step changes in level along the path. There is a step change in
23
     level that must be traversed to access the main entrance to the complex. The main
24
     entrance door leading into the complex fails to have the required smooth and
25
     uninterrupted surface at the bottom of the door. The main entrance door leading into
26
     the complex is not accessible due to a significant step change in level at the main
27
     entrance door threshold that is not beveled or ramped. The operating hardware on
28

                      11
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 1
     the main entrance door is a round knob. Defendant’s callbox is located too high to
 2
     be accessible. There are numerous step changes in level that must be traversed to
 3
     access the Rental Services Office and the other common areas of the complex.
 4
     Defendants do not provide the required directional signage as to the designated path
 5
     of travel from the sidewalk to Defendant’s Rental Services Office. Defendant’s
 6
     Rental Services Office entrance is not accessible as the doorway is too narrow to be
 7
     accessible. Also, the Rental Services Office entrance door fails to have the required
 8
     strike edge clearance. The Rental Services Office entrance is not accessible due to a
 9
     significant step change in level at the Rental Services Office door threshold that is
10
     not beveled or ramped. The Rental Services Office entrance door fails to have the
11
     required smooth and uninterrupted surface at the bottom of the door. Additionally,
12
     Defendant’s Rental Services Office entry door operating hardware is a round knob.
13
     Both the shelf on the Rental Services Office entrance door and the shelf by the
14
     Rental Services Office entranced door fail to be accessible as they both fail to be of
15
     the proper height and dimensions. The Named Individual Plaintiff has mobility
16
     disabilities and these step changes in level and the other stated issues cause the path
17
     of travel and the Rental Services Office entry to be not accessible. Defendants failed
18
     to provide any directional signage indicating an alternate accessible path of travel to
19
     the Rental Services Office. Defendants failed to provide the required fully compliant
20
     van accessible disabled parking for the Rental Services Office. Defendants failed to
21
     provide a dimensionally compliant van accessible disabled parking space and
22
     disabled parking access aisle, the required disabled parking signage, including tow
23
     away signage, fine signage, ground markings, and failed to locate said parking on a
24
     level surface and nearest the Rental Services Office. Defendants also failed to
25
     provide compliant tow away signage. The Named Individual Plaintiff requires the
26
     use of a compliant van accessible disabled parking space to safely exit and re-enter
27
     the vehicle. Defendants’ failure to provide the required compliant disabled parking,
28

                      12
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 1
     disabled parking access aisle, disabled parking disability signage, access aisle, and
 2
     disability ground markings, such that the Named Individual Plaintiff is not able to
 3
     safely park at Defendants’ establishment since the individual Plaintiff may be
 4
     precluded from exiting or re-entering the vehicle if the disabled parking and disabled
 5
     parking signage is not present and others park improperly. Additionally, Defendants
 6
     failed to provide the required accessible path of travel from the parking area to the
 7
     Rental Services Office since the existing path of travel has step changes in level.
 8
     Additionally, Defendants overt and obvious communication barriers were also
 9
     present at the Rental Services Office in February, 2023, and on a second subsequent
10
     date. Defendants failed to provide any method of text communication with their
11
     Rental Services Office and failed to publish any information as to how to initiate text
12
     communication contact. The Named Individual Plaintiff had actual knowledge of
13
     these barriers at Defendants’ Property that Plaintiff intended to visit, and the Named
14
     Individual Plaintiff was deterred from accessing Defendants’ Rental Services Office
15
     at the Property again in February, 2023. See Property photos in Exhibit B and
16
     Exhibit C.
17
     26.   Plaintiff Club and the named Individual Plaintiff desire to make sure that
18
     Defendants’ rental services at Defendants’ property and Defendants’ websites are
19
     fully accessible to Plaintiff Club’s members, the named Individual Plaintiff, and
20
     other people with disabilities. Plaintiff Club, its Club members, and the named
21
     Individual Plaintiff all have actual knowledge of Defendants’ discriminatory
22
     conditions, and they are currently deterred from attempting further access until the
23
     barriers are removed. Plaintiff Club and the named Individual Plaintiff intend to
24
     return to Defendants’ Property and Defendants websites at the end of this action to
25
     obtain rental services, and to verify that the communication and architectural barriers
26
     are removed. The named Plaintiffs’ intent to return is genuine. In this case, Plaintiff
27
     Club has numerous members residing near Defendants Property. Plaintiff Club’s
28

                      13
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 1
     members have actual knowledge of the discriminatory conditions as alleged herein
 2
     when the Plaintiff Club investigated the Property and the rental services and
 3
     determined that the Club members would not be able to use the rental services due to
 4
     the discriminatory conditions. Therefore, Plaintiff Club members were and are
 5
     deterred from visiting the properties. Plaintiff Members were not required to
 6
     actually visit the properties. See Civil Rights Education & Enforcement Center v.
 7
     Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017). However, a member of
 8
     Plaintiff Cub did visit and attempt to access Defendants’ rental services at
 9
     Defendants’ property. Plaintiff Club and the individual Plaintiff have specific plans
10
     to visit at the conclusion of this case to obtain rental information and to verify the
11
     Defendants ceased its discriminatory conduct by removing communication and
12
     physical barriers to access to the rental services.
13

14
      DISCRIMINATORY PRACTICES IN HOUSING ACCOMMODATIONS –
15
     FAIR HOUSING ACT CLAIMS
16
     27.   FHA Standing:
17
           Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
18
     complaint, Defendants discriminated against Plaintiffs in violation of FHA sections §
19
     3604(f)(1- 3) and 42 § 3604(c), as further detailed below. As a result, the present
20
     named Plaintiffs suffered injury as a result of Defendants discriminatory actions, and
21
     named Plaintiffs now pray for damages, injunctive relief, declaratory relief, and
22
     other relief as hereinafter stated. The Federal Fair Housing Act applies to
23
     Defendants’ apartment complex since it has more than 4 residential units. FHA
24
     standing is substantially broader than standing under the ADA due to the critically
25
     important need of adequate availability of housing for the disabled. A potential
26
     plaintiff is not even required to have an interest in renting a particular property or
27
     dwelling to have standing. Smith v. Pacific Properties and Development Corp, 358
28

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 1
     F.3d 1097, 1099 (9th Cir 2004) [Testers have standing to bring Fair Housing Act
 2
     claims, Id 1099, 1104]. Under the Act, any person harmed by discrimination,
 3
     whether or not the target of the discrimination, can sue to recover for his or her own
 4
     injury. See Trafficante v. Metropolitan Life Ins. Co., 409 U.S. 205, 212, 93 S.Ct. 364,
 5
     34 L.Ed.2d 415 (1972). “This is true, for example, even where no housing has
 6
     actually been denied to persons protected under the Act.” San Pedro Hotel v City of
 7
     Los Angeles, 159 F.3d 470, 474-475 (9th Cir 1998). In the present case, the named
 8
     Plaintiffs alleged they suffered the injury of discriminatory conduct by Defendants,
 9
     and that the named Plaintiffs suffered monetary and other damages as a result. The
10
     named Plaintiffs seek injunctive relief as well as damages, both of which are
11
     available under 42 USC § 3613(c). Assuming arguendo in the present case, that
12
     prospective injunctive relief was not available to Plaintiffs due to mootness or
13
     otherwise, which Plaintiffs dispute; the named Plaintiffs are still permitted to recover
14
     damages under their federal FHA claims. Harris v Itzakhi, 183 F.3d 1043, 1050 (9th
15
     Cir 1999) [During the appeal in Harris case, the plaintiff therein moved Three
16
     Thousand (3000) miles away and her injunctive claims became moot. However,
17
     Plaintiff’s claim for damages survived and was not affected]. In the present case,
18
     while Plaintiffs can satisfy the injunctive relief prudential standing requirements, the
19
     above Ninth Circuit Harris court authority makes it clear that those prudential
20
     standing requirements for injunctive relief are not applicable to Plaintiffs FHA
21
     damage claims. Hence, in the present case, Plaintiffs damage claims survive even if
22
     prospective injunctive relief is not available. The present Plaintiff Club has
23
     organization standing separately on its own under the FHA. Additionally, under the
24
     FHA, Plaintiff Club has associational standing to assert its Club member claims
25
     since it only seeks injunctive and declaratory relief as to its Club members. Plaintiff
26
     Club and the named Individual Plaintiff have standing with respect to the following
27
     FHA claims.
28

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 1
     CLAIM I: Discrimination In Violation of 42 § 3604(f)(1) - Failure To Have A
 2
     Policy For Receiving Prospective Tenant Accommodation Requests, Failure To
 3
     Train Staff, And Failure To Make The Policy Known To The Plaintiffs
 4
     28.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
 5
     complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
 6
     this FHA section. This FHA statute states it is unlawful to discriminate in the sale or
 7
     rental, or to otherwise make unavailable or deny, a dwelling to any buyer or renter
 8
     because of a handicap of (A) that buyer or renter; (B) a person residing in or
 9
     intending to reside in that dwelling after it is so sold, rented, or made available; or…
10
     §3604(f)(1) [emphasis added]. See Texas Dept. of Housing and Community Affairs
11
     v Inclusive Communities Project, 135 S.Ct. 2507, 2519 (2015) [FHA statutory
12
     scheme permits disparate impact claims, and those type of claims do not require
13
     intent]. due to Defendants’ communication and architectural barriers, Defendants
14
     discriminated against Plaintiffs by failing to have a policy, practice, or method for
15
     Plaintiffs to make a reasonable accommodation request for equal access to their
16
     rental services on their website or at their Property. Defendants have an affirmative
17
     duty to have a policy, process to receive such accommodation requests and to
18
     respond to said requests. See Giebeler v. M & B Associates, 343 F.3d 1143 (9th Cir.
19
     2003). As a result, Defendant caused Plaintiffs to suffer disparate impact
20
     discrimination.
21

22
     CLAIM II: Failure to Engage in Interactive Process In Violation Of The Fair
23
     Housing Act And California Fair Employment And Housing Act
24
     29.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
25
     complaint, Plaintiffs suffered discrimination by Defendants in violation of FHA
26
     section § 3604(f)(1) and § 3604(f)(2). Plaintiffs contend that Defendant failed to
27

28

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 1
     engage in a good-faith interactive process to determine and to implement effective
 2
     reasonable accommodations so that Plaintiffs could gain equal access Defendants’
 3
     rental services, to apply for a lease, or to allow Plaintiffs to access Defendants’ rental
 4
     services both on or off the property and apartments.
 5
     CLAIM III: Discrimination In Violation of 42 § 3604(f)(2)
 6
     30.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
 7
     complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
 8
     this FHA section § 3604(f)(2). This FHA section states “it shall be unlawful to
 9
     discriminate against any person in the terms, conditions, or privileges of sale or
10
     rental of a dwelling, or in the provision of services or facilities in connection with
11
     such dwelling”. Plaintiffs more specific factual basis for this claim is set forth
12
     above at ¶¶23-26 above. As previously stated, the named Individual Plaintiff was a
13
     prospective renter and Plaintiff Club was also seeking rental housing on behalf of the
14
     named Individual Plaintiff ¶¶8 – 26 above. In the instant case, Defendant’s rental
15
     services located on the Property or off-site are “services” in connection with the
16
     rental of a dwelling and the on-site or off-site rental services provided fall within the
17
     FHA statute. In the instant case, the named Plaintiffs both assert that Defendant’s
18
     failure to remove communication and architectural barriers to permit access to
19
     Defendant’s on-site rental services contained is a separate, independent, actionable
20
     violation of this FHA section § 3604(f)(2), even without reference to the ADA as a
21
     predicate. Plaintiffs have alleged that Defendants’ Property has overt and obvious
22
     physical barriers to access its rental services provided at the property. See ¶¶25 -26.
23
     The 9th Circuit Smith court stated that the mere observation of overt architectural
24
     barriers is actionable. Smith at 1104 [“To read an additional standing requirement
25
     into the statute beyond mere observation, however, ignores that many overtly
26
     discriminatory conditions, for example, lack of a ramped entryway, prohibit a
27
     disabled individual from forming the requisite intent or actual interest in renting or
28

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                                                                                  COMPLAINT
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 1
     buying for the very reason that architectural barriers prevent them from viewing the
 2
     whole property in the first instance” (emphasis in original)]. The Smith court found
 3
     Defendants liable under this FHA subsection even though that case did not involve
 4
     ADA Title III claims. However, Plaintiffs did not just allege that Plaintiff Club
 5
     observed Defendant’s overt architectural barriers, but Plaintiffs alleged that a
 6
     Plaintiff Club member experienced the barriers, that the named Individual Plaintiff
 7
     had actual knowledge of Defendants’ communication and architectural barriers and
 8
     Plaintiff LEE was deterred from obtaining equal access to Defendant’s rental
 9
     services located thereon. Defendants also discriminated against Plaintiffs by failing
10
     to modify its practices and policies to provide access via other methods of access to
11
     its rental services located on or off the property site. Defendant’s failure to remove
12
     the architectural and communication barriers to access its facilities and the rental
13
     services located thereon, or failure to provide an accommodation to provide methods
14
     of alternate access to their rental services, constitutes the prohibited discrimination,
15
     separately and independently. Additionally, Defendant’s conduct is also prohibited
16
     under ADA Title III and constitutes a second, separate, independent source of
17
     discrimination against Plaintiffs in violation of FHA § 3604(f)(2). Since Defendants
18
     discriminatory conduct involves Defendants’ rental facilities and its rental services
19
     located therein, Plaintiffs assert any discriminatory conduct found in violation of
20
     ADA Title III also constitutes prohibited “discrimination” under FHA § 3604(f)(2).
21
     CLAIM IV: Discrimination In Violation of 42 § 3604(f)(3)(A and B only)
22
     31.   Plaintiffs do not make any claim against Defendants for a failure to “design
23
     and construct” pursuant to § 3604(f)(3)(C). Based on the facts plead at ¶¶ 8 - 26
24
     above and elsewhere herein this complaint, Plaintiffs suffered discrimination by
25
     Defendants in violation of FHA sections § 3604(f)(3)(A, B) only. The FHA requires
26
     that “….[f]or the purposes of this subsection, discrimination includes-- (B) a refusal
27
     to make reasonable accommodations in rules, policies, practices, or services, when
28

                      18
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 1
     such accommodations may be necessary to afford such person equal opportunity to
 2
     use and enjoy a dwelling...” 42 § 3604(f)(3)(B). See also Giebeler v. M & B
 3
     Associates, 343 F.3d 1143 (9th Cir 2003). Defendants improperly refused Plaintiffs’
 4
     repeated written and other requests for an accommodation to have equal access to its
 5
     rental services.
 6
     CLAIM V: Discrimination In Violation of 42 § 3604(c) As To NSA
 7
     32.   Based on information, belief, and the facts plead at ¶¶ 8 – 26 above and
 8
     elsewhere herein, Plaintiffs herein alleges that Defendants caused Plaintiffs to suffer
 9
     the injury of discrimination since Defendants violated 42 U.S.C. §§ 3604 (c) with
10
     respect to its notices, statements, and advertisements (“NSA”). Plaintiffs allege that
11
     Defendants discriminated against them when Defendants made, printed, or
12
     published, or caused to be made printed, or published notices, statements, or
13
     advertisements (“NSA”) that suggest to an ordinary reader a preference to attract
14
     tenants without disabilities. Defendants' Internet advertising regarding its rental
15
     services has an unlawful disparate impact on Plaintiffs.
16

17
     SECOND CAUSE OF ACTION : Violation of California Fair Housing Act
18
     33.     Failure to Provide Obvious Reasonable Accommodation and Modification:
19
     Based on information, belief and the facts stated above at ¶¶ 8 – 26 above and
20
     elsewhere in this complaint, Plaintiffs allege that Defendants refused to make
21
     reasonable accommodations in rules, policies, practices, or services in violation of
22
     CA Government Code sections 12927 and 12955.2, when these accommodations
23
     may be necessary to afford a disabled person equal opportunity to use and enjoy
24

25
     Defendants’ rental services. As stated in detail above, Defendants refused to make

26
     reasonable accommodations with the instant Plaintiffs and discriminated against each

27
     of them on the basis of disability.

28

                        19
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 1
     THIRD CAUSE OF ACTION AGAINST ALL DEFENDANTS- Claims Under
 2
     The Americans With Disabilities Act Of 1990
 3
     34.   ADA Standing:
 4
           ADA Title III does cover public and common use areas at housing
 5
     developments when these public areas are, by their nature, open to the general
 6
     public. An office providing rental services is open to the general public. (See U.S.
 7
     Department of Justice - ADA Title III Technical Assistance Section III-1.2000,
 8
     Illustration 3, office on or off the site covered). The parking and paths of travel to
 9
     the office on or off the site are also covered. See Section III–1.2000, ADA Title III
10
     Technical Assistance Manual, http://www.ada.gov/taman3.html (“ILLUSTRATION
11
     3: A private residential apartment complex contains a office on or off the site. The
12
     office on or off the site is a place of public accommodation”). See Kalani v Castle
13
     Village, LLC, 14 F.Supp.3d 1359, 1371 (E.D.Cal, 2014)[ citing Johnson v. Laura
14
     Dawn Apartments, LLC, 2012 WL 33040 at *1 n. 1 (E.D.Cal.2012) (Hollows, M.J.)
15
     (“[t]he leasing office of an apartment is a place of public accommodation.] . In the
16
     present case, the named Plaintiffs have also sufficiently alleged that Defendants
17
     provide rental services at the property. Following prior sister Circuit Courts of
18
     Appeals decisions, our Ninth Circuit Court very recently held that an ADA Plaintiff
19
     can be only a “tester” and have standing. See Civil Rights Education & Enforcement
20
     Center v. Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017) [the Ninth
21
     Circuit CREEC court held (1) ADA “tester” standing is valid and a Plaintiff’s
22
     motivation for visit is “irrelevant”, and (2) an ADA “deterrent effect doctrine” claim
23
     does not require a Plaintiff to have a personal encounter with the barrier to equal
24
     access, only to have knowledge of the barrier] citing Havens Realty Corp. v.
25
     Coleman, 455 U.S. 363, 372–74, 102 S.Ct. 1114 (1982); Smith v. Pacific Properties
26
     and Development Corp, 358 F.3d 1097, 1102-1104 (9th Cir 2004); Chapman v. Pier
27
     1 Imports (U.S.) Inc., 631 F.3d 939 (9th Cir 2011, en banc); Houston v. Marod
28

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 1
     Supermarkets, Inc., 733 F.3d 1323, 1335–37 (11th Cir. 2013); Colo. Cross Disability
 2
     Coal. v. Abercrombie & Fitch Co., 765 F.3d 1205, 1210–11 (10th Cir. 2014). In the
 3
     present case, the named Plaintiffs each have ADA standing. Plaintiffs have alleged
 4
     that Defendants discriminated against Plaintiffs in violation of ADA Title III statutes
 5
     and regulations as detailed further in the ADA claims stated below. As a result, the
 6
     named Plaintiffs have each suffered injury and each seek only injunctive and
 7
     declaratory relief pursuant to their ADA Claims.
 8
     CLAIM I: Auxiliary Aids – Failure To Effectively Communicate
 9
     35.   42 United States Code 12182(b)(2)(iii) states, "a failure to take such steps as
10
     may be necessary to ensure that no individual with a disability is excluded, denied
11
     services, segregated or otherwise treated differently than other individuals because of
12
     the absence of auxiliary aids and services, unless the entity can demonstrate that
13
     taking such steps would fundamentally alter the nature of the good, service, facility,
14
     privilege, advantage, or accommodation being offered or would result in an undue
15
     burden;..." Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this
16
     complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
17

18
     violated said provision. Plaintiffs set forth the factual basis for this claim most

19
     specifically at ¶¶ 13 -14, 16-24 above. The ADA “applies to the services of a place

20
     of public accommodation, not services in a place of public accommodation. To limit

21
     the ADA to discrimination in the provision of services occurring on the premises of a

22   public accommodation would contradict the plain language of the statute.” Nat’l
23   Fed’n of the Blind v. Target Corp., 452 F. Supp. 2d 946, 953 (N.D. Cal. 2006)
24   (emphasis added) (citing Weyer v. Twentieth Century Fox Film Corp., 198 F.3d
25   1104, 1115 (9th Cir. 2000) [holding that “whatever goods or services the place
26   provides, it cannot discriminate on the basis of disability in providing enjoyment of
27   those goods and services”]). An ADA plaintiff may challenge a business’ online
28

                      21
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 1
     offerings as well. So long as there is a “nexus”—that is, “some connection between
 2
     the good or service complained of and an actual physical place”—a plaintiff may
 3
     challenge the digital offerings of an otherwise physical business. See Gorecki v.
 4
     Hobby Lobby Stores, Inc, 2017 WL 2957736, at *4 (C.D. Cal. June 15, 2017) [Case:
 5
     CV 17–1131–JFW (SKx)]. The ADA requires the Defendants to provide effective
 6
     communication to the instant Plaintiffs and to people with disabilities. In the
 7
     present case, Plaintiffs experienced and have knowledge that Defendants failed to
 8
     have a required procedure to provide effective communication. Plaintiffs allege that
 9
     Defendants failed to train their staff on the way to use the auxiliary aids. Defendants
10

11
     did not provide any auxiliary aid and the Defendants did not provide any reasonable

12
     accommodation to the overt and obvious communication barriers, and failed to

13
     respond to Plaintiffs’ requests for accommodation. Plaintiffs are not demanding that

14
     Defendants provide a specific reasonable accommodation or a specific auxiliary aid.

15   ADA law allows the Defendants to decide what auxiliary aid and reasonable
16   accommodation will be provided. In this case, however, Defendants failed to
17   provide any reasonable accommodation for the overt and obvious communication
18   barriers to equal access to their rental services, failed to provide any auxiliary aid,
19   and failed to provide any effective communication. Plaintiffs allege that Defendants’
20   websites provide a contact number for the general public, but Defendants failed to
21   provide Plaintiffs with the required effective communication using texting or other
22   alternate means of communication for Plaintiffs and other people with a deaf
23   condition or a speech condition. Defendants’ conduct discriminates against Plaintiff
24   Club’s members that have hearing disabilities and Club’s members with speech
25   disabilities. Defendants are required to provide, on Defendants’ websites, to provide
26   a method to effectively communicate with Plaintiff Club members that have hearing
27   and speech disabilities, and other people that are deaf or have speech impairments.
28

                      22
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 1
     CLAIM II: Denial of Participation
 2
     36.   42 United States Code 12182(b)(1)(A)(i) states, "It shall be discriminatory to
 3
     subject an individual or class of individuals on the basis of a disability or disabilities
 4
     of such individual or class, directly, or through contractual, licensing, or other
 5
     arrangements, to a denial of the opportunity of the individual or class to participate in
 6
     or benefit from the goods, services, facilities, privileges, advantages, or
 7
     accommodations of an entity." Based on the facts plead at ¶¶ 8 - 26 above and
 8
     elsewhere in this complaint, Plaintiffs are informed, believe, and thereon allege that
 9
     Defendants violated said provision. Plaintiffs set forth the factual basis for this claim
10

11
     most specifically at ¶¶ 20-24 above. Defendants discriminated against Plaintiffs in

12
     violation of 42 United States Code 12182(b)(1)(A)(i) and 42 U.S.C. § 12188.

13
     CLAIM III: Participation in Unequal Benefit

14
     37.   Defendants provide unequal benefit for people with disabilities in violation of

15   42 United States Code 12182(b)(1)(A)(ii) and 42 U.S.C. § 12188. Based on the facts
16   plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
17   believe, and thereon allege that Defendants discriminated against Plaintiffs in
18   violation of said provision. Plaintiffs set forth the factual basis for this claim most
19   specifically at ¶¶ 20-24 above.
20   CLAIM IV: Separate Benefit
21   38.   Defendants’ photographs discriminate against Plaintiffs in violation of 42
22   United States Code 12182(b)(2)(A)(iii) and 42 U.S.C. § 12188. Based on the facts
23   plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
24   believe, and thereon allege that Defendants discriminated against Plaintiffs in
25   violation of said provision. Plaintiffs set forth the factual basis for this claim most
26   specifically at ¶¶ 20-24 above.
27   ///
28

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 1
     CLAIM V: Integrated Settings
 2
     39.   Defendants’ rental services are not integrated for Plaintiffs and people with
 3
     disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42 U.S.C. §
 4
     12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 5
     Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
 6
     against Plaintiffs in violation of said provision. Plaintiffs set forth the factual basis
 7
     for this claim most specifically at ¶¶ 20-24 above.
 8
     CLAIM VI: Failure To Modify Practices, Policies And Procedures
 9
     40.   Defendants failed and refused to provide a reasonable alternative by
10
     modifying its practices, policies, and procedures in that they failed to have a scheme,
11
     plan, or design to accommodate Plaintiff Club, its Club members, the individual
12
     named Plaintiff, and/or others similarly situated in utilizing Defendants' rental
13
     services, at its websites and at the Property, in violation of 42 United States Code
14
     12182(b)(2)(A)(ii) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
15
     above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
16
     allege that Defendants discriminated against Plaintiffs in violation of said provision.
17
     Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 18-26 above.
18

19
     CLAIM VII: Failure To Remove Architectural And Communication Barriers

20
     41.   Plaintiffs allege that Defendants failed to remove architectural barrier and

21
     communication barriers as required in violation of 42 United States Code

22
     12182(b)(2)(A)(iv) and 42 U.S.C. § 12182. Based on the facts plead at ¶¶ 8 - 26

23
     above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon

24
     allege that Defendants discriminated against the named Individual Plaintiff in

25
     violation of said provision. Plaintiffs set forth the factual basis for this claim most

26
     specifically at ¶¶ 8,9,20-24,25,26 above. The named Individual Plaintiff personally

27
     reviewed all the information and photographs of Defendants’ property. As a result,

28

                      24
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 1
     the named Individual Plaintiff has actual knowledge of the physical and
 2
     communication barriers that exist at Defendants’ Property. The named Individual
 3
     Plaintiff determined that the physical barriers that exist at Defendants’ property,
 4
     directly relate to his disabilities, and make it impossible or extremely difficult for
 5
     him to physically access Defendants’ rental services at the Property. The named
 6
     Individual Plaintiff was deterred by his actual knowledge of the physical and
 7
     communication barriers that exist at Defendants’ Property which include but are not
 8
     limited to the barriers to facilities and services for disabled parking, exterior path of
 9
     travel to the rental services at the property, entrance and interior, since said
10
     Defendants’ facilities and rental services were not accessible because they failed to
11
     comply with the Federal ADA Accessibility Guidelines (“ADAAG”) and California's
12
     Title 24 Building Code Requirements. See ¶¶ 25 for details. The named Individual
13
     Plaintiff had actual knowledge of these barriers and determined that it would be
14
     futile gesture for him to go to the Property on the date that he had originally
15
     intended. The named Individual Plaintiff is currently deterred from returning due to
16
     his knowledge of the barriers. At the end of this action, the named Individual
17
     Plaintiff intends to return to Defendants’ property or off the site location to obtain
18
     rental information and verify that the communication and physical barriers to
19
     Defendants’ rental services are removed. Defendants failure to remove the barriers
20
     to equal access constitutes discrimination against the named Individual Plaintiff.
21
     CLAIM VIII: Failure To Make Alterations Readily Accessible And Usable
22
     42.   Defendants are required to make alterations to their facilities in such a manner
23
     that, to the maximum extent feasible, the altered portions of the facility are readily
24
     accessible to and usable by individuals with disabilities, including individuals who
25
     use devices pursuant to 42 U.S.C. §12183(a)(2). Based on the facts plead at ¶¶ 8 -
26
     26 above and elsewhere in this complaint, the named Plaintiffs are informed, believe,
27
     and thereon allege that Defendants violated this provision. Plaintiffs allege that
28

                      25
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 1
     Defendants altered their facility in a manner that affects or could affect the usability
 2
     of the facility or a part of the facility after January 26, 1992. In performing the
 3
     alteration, Plaintiffs allege that Defendants failed to make the alteration in such a
 4
     manner that, to the maximum extent feasible, the altered portions of the facility are
 5
     readily accessible to and usable by individuals with disabilities, including individuals
 6
     who use devices, in violation of 42 U.S.C. §12183(a)(2).
 7
     CLAIM IX: Administrative Methods
 8
     43.   Plaintiffs are informed, believe, and thereon allege that Defendants contract
 9
     with website providers without making sure that the websites will be accessible to
10
     people with disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42
11
     U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this
12

13
     complaint, Plaintiffs are informed, believe, and thereon allege that Defendants

14
     discriminated against the named Individual Plaintiff in violation of said provision.

15
     Plaintiffs set forth the factual basis for this claim most specifically at ¶¶18-26 above.

16
     CLAIM X: Screen Out

17
     44.   Plaintiffs are informed, believe, and thereon allege that Defendants screened

18
     out Plaintiffs and other people with disabilities in violation of 42 United States Code

19
     12182(b)(2)(A)(i) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26

20
     above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon

21
     allege that Defendants discriminated against the named Plaintiffs in violation of said

22
     provision. Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 8
23   - 26 above. Defendants screened out the named Plaintiffs from its rental services and
24   processes, because Defendants failed to remove architectural and communication
25   barriers to its website and property, failed to provide required effective alternate
26   communication methods, and failed to provide required auxiliary aids.
27   ///
28

                      26
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 1
     CLAIM XI: Denial Of Full And Equal Access
 2
     45.    Defendants are required to provide full and equal access to Defendants' rental
 3
     services, goods, facilities, privileges, advantages, or accommodations pursuant to 42
 4
     United States Code 12182(b) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶
 5
     8 - 26 above and elsewhere in this complaint, Plaintiffs are informed, believe, and
 6
     thereon allege that Defendants discriminated against the named Plaintiffs in violation
 7
     of said provision. Plaintiffs set forth the factual basis for this claim most specifically
 8
     at ¶¶ 8 - 26 above.
 9

10
     CLAIM XII: Failure To Investigate And Maintain Accessible Features
11
     46.    Defendants made repairs and administrative changes which violated ADA and
12
     its regulations. See ADA Title III Regulations Sec.36.211 Maintenance of accessible
13
     features. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
14

15
     Defendants failed to provide and then maintain any accessible features in its parking,

16
     path of travel, on or off the property site for rental services and website rental

17
     services. Plaintiffs are informed, believe, and thereon allege that Defendants

18
     discriminated against the named Plaintiffs in violation of this provision.

19   CLAIM XIII: Association
20
     47.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
21
     Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
22
     against the named Plaintiffs in violation of 42 U.S.C. § 12182(b)(1)(E)
23

24         DISCRIMINATORY PRACTICES IN PUBLIC ACCOMMODATIONS
25          FOURTH CAUSE OF ACTION: ONLY THE INDIVIDUALL NAMED
26   PLAINTIFF AGAINST ALL DEFENDANTS - CLAIMS UNDER CALIFORNIA
27                                 ACCESSIBILITY LAWS
28

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                                                                                  COMPLAINT
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 1
     CLAIM I: Denial Of Full And Equal Access
 2
     48.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint, the
 3
     named Individual Plaintiff was denied full and equal access to Defendants' goods.
 4
     services, facilities, privileges, advantages, or accommodations within a public
 5
     accommodation owned, leased, and/or operated by Defendants as required by Civil
 6
     Code Sections 54, 54.1, and specifically 54.1(d). The factual basis for this claim is at
 7
     18-28 above.
 8
     CLAIM II: Failure To Modify Practices, Policies And Procedures
 9
     49.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
10
     the named Individual Plaintiff was denied full and equal access to Defendants' goods.
11
     Defendants failed and refused to provide a reasonable alternative by modifying its
12
     practices, policies, and procedures in that they failed to have a scheme, plan, or
13
     design to assist Plaintiff Members and/or others similarly situated in entering and
14
     utilizing Defendants' services as required by Civil Code § 54.1. The factual basis for
15
     this claim is at 18-28 above.
16
     CLAIM III: Violation Of The Unruh Act
17
     50.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
18
     the individual, the named Individual Plaintiff was denied full and equal access to
19
     Defendants' goods. Defendants violated the CA Civil Code § 51 by specifically
20
     failing to comply with Civil Code §51(f). Defendants' facility violated state
21
     disability laws, the ANSI Standards, A117, and California's Title 24 Accessible
22
     Building Code by failing to provide equal access to Defendants’ facilities.
23
     Defendants did and continue to discriminate against Plaintiff Members in violation
24
     of Civil Code §§ 51(f), and 52. The factual basis for this claim is at 18-28 above.
25
                Treble Damages Pursuant To California Accessibility Laws
26
     51.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
27
     only the named Individual Plaintiff prays for an award of treble damages against
28

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                                                                                COMPLAINT
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 1
     Defendants, and each of them, pursuant to California Civil Code sections 52(a) and
 2
     54.3(a). Defendants, each of them respectively, at times prior to and including the
 3
     day the named Individual Plaintiff attempted patronized Defendants’ facilities and
 4
     rental services, and continuing to the present time, knew that persons with physical
 5
     disabilities were denied their rights of equal access. Despite such knowledge,
 6
     Defendants, and each of them, failed and refused to take steps to comply with the
 7
     applicable access statutes; and despite knowledge of the resulting problems and
 8
     denial of civil rights thereby suffered by the named Individual Plaintiff. Defendants,
 9
     and each of them, have failed and refused to take action to grant full and equal access
10
     to the individual Plaintiff in the respects complained of hereinabove. Defendants,
11
     and each of them, have carried out a course of conduct of refusing to respond to, or
12
     correct complaints about, denial of disabled access and have refused to comply with
13
     their legal obligations to make Defendants’ public accommodation facilities and
14
     rental services accessible pursuant to the ADAAG and Title 24 of the California
15
     Code of Regulations (also known as the California Building Code). Such actions
16
     and continuing course of conduct by Defendants in conscious disregard of the rights
17
     and/or safety of the named Individual Plaintiff justify an award of treble damages
18
     pursuant to sections 52(a) and 54.3(a) of the California Civil Code.
19

20
                       DEMAND FOR JUDGMENT FOR RELIEF:
21
     A.    All named Plaintiffs seeks injunctive relief pursuant to 42 U.S.C. 3613(c) and
22
     42 U.S.C. § 12188(a). Only the named Individual Plaintiff seeks injunctive relief
23
     pursuant to CA Civil Code §52. Pursuant to 42 U.S.C. 3613(c), all Plaintiffs request
24
     this court to enjoin Defendants to cease their discriminatory practices in housing
25
     rental services, rental housing management services, and for Defendants to
26
     implement written policies and methods to respond to reasonable accommodation
27
     and reasonable modification requests. Pursuant to 42 U.S.C. § 12188(a), Plaintiffs
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                                                                               COMPLAINT
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 1
     request this Court enjoin Defendants to remove all barriers to equal access to the
 2
     disabled Plaintiffs in, at, or on their facilities, including but not limited to
 3
     architectural and communicative barriers in the provision of Defendants’ rental
 4
     services. Plaintiffs do not seek injunctive relief pursuant to Cal. Civil Code §55 and
 5
     Plaintiffs do not seek attorneys’ fees pursuant to Cal. Civil Code §55. Plaintiffs do
 6
     not seek any relief at all pursuant to Cal. Civil Code §55.
 7
     B.     All named Plaintiffs seek actual damages pursuant to 42 U.S.C. 3613(c).
 8
     However, Plaintiff Club only seeks damages for itself. Plaintiff Club does not seek
 9
     damages on behalf of its members;
10
     C. Only the named Individual Plaintiff seeks recovery of actual damages pursuant
11
     to Cal. Civil Code §§ 52 or 54.3;
12
     D.     Only the named Individual Plaintiff seeks $4,000 in minimum statutory
13
     damages pursuant to Cal. Civil Code § 52 for each and every offense of Civil Code §
14
     51, pursuant to Munson v. Del Taco, (June 2009) 46 Cal. 4th 661;
15
     E.     In the alternative to the damages pursuant to Cal. Civil Code § 52 in Paragraph
16
     C above, only the named individual Plaintiff seeks $1,000 in minimum statutory
17
     damages pursuant to Cal. Civil Code § 54.3 for each and every offense of Civil Code
18
     § 54.1;
19
     F.     All named Plaintiffs seek attorneys' fees pursuant to 42 U.S.C. 3613(c)(2), 42
20
     U.S.C. § 12205, and Cal. Civil Code §§ 52, 54.3;
21
     G.     Only the named individual Plaintiff seeks treble damages pursuant to Cal.
22
     Civil Code §§ 52(a) or 54.3(a);
23
     H.     The named Plaintiffs are seeking perspective injunctive relief to require the
24
     Defendants to provide obvious reasonable accommodations, to provide the required
25
     auxiliary aids and to modify Defendants’ procedures, practices, and policies of the
26
     Defendants in the provision of Defendants’ rental services. Without perspective
27
     relief the Plaintiffs will suffer future harm.
28

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                                                                                    COMPLAINT
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 1
     I.    All named Plaintiffs seek a Jury Trial and;
 2
     J.    For such other further relief as the court deems proper.
 3

 4   Respectfully submitted:
 5
                                                  LIGHTNING LAW, APC
 6
     Dated: February 23, 2023
 7
                                           By:    /s/David C. Wakefield
 8                                                DAVID C. WAKEFIELD, ESQ.
 9
                                                  Attorney for Plaintiffs

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                                                                       COMPLAINT
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